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d/b/a A&G Commercial Trucking


                       IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF UTAH


PRIME INSURANCE COMPANY,
                                                          STIPULATION AND JOINT
       Plaintiff and Counterclaim Defendant,              MOTION FOR DISMISSAL
                                                           WITHOUT PREJUDICE
vs.

GKD MANAGEMENT LP d/b/a A&G                              Case No: 2:21-cv-00493-TS-JCB
COMMERCIAL TRUCKING and GERALD
WAYNE FIELDEN,                                           District Court Judge Ted Stewart
                                                         Magistrate Judge Jared C. Bennett
        Defendants and Counterclaimant.


       Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, plaintiff Prime

Insurance Company and defendant GKD Management LP d/b/a A&G Commercial Trucking

(collectively, the “Parties”) hereby stipulate and agree that the Court should dismiss the above-

captioned lawsuit without prejudice, each party to bear its own costs and attorneys’ fees. The

parties in the underlying action have entered into a settlement agreement resolving that action,

and the Parties agree that in light of that development, this insurance coverage lawsuit should be
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dismissed without prejudice. Accordingly, the Parties jointly move the Court to enter an order of

dismissal in the form submitted herewith.

       RESPECTFULLY SUBMITTED this 5th day of November, 2021.

                                     AMES & AMES, LLP

                                     /s/ David J. Mahoney
                                     (signed with permission obtained via email)
                                     Byron L. Ames
                                     David J. Mahoney
                                     Attorneys for Plaintiff Prime Insurance Company


                                     PARR BROWN GEE & LOVELESS, P.C.

                                     /s/ Laura G. Kennedy
                                     Stephen E. W. Hale
                                     Laura G. Kennedy
                                     Attorneys for Defendant GKD Management LP d/b/a A&G
                                     Commercial Trucking




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of November, 2021, I caused a true and correct copy

of the foregoing STIPULATION AND JOINT MOTION FOR DISMISSAL WITHOUT

PREJUDICE to be electronically filed with the Court, which caused the following to be served

via the Court’s electronic filing system:

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                                              /s/ Laura G. Kennedy
